              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                     CRIMINAL CASE NO. 1:04cr43-4


UNITED STATES OF AMERICA, )
                            )
                            )
              vs.           )                  ORDER
                            )
                            )
ANGELA N. HOWELL.           )
____________________________)



      THIS MATTER is before the Court on the Defendant’s pro se Motion

to Order and/or Recommend Twelve (12) [Months] Halfway House/Home

Confinement [Doc. 318].

      The Defendant is in the custody of the United States Bureau of

Prisons in connection with her conviction and sentence for conspiracy to

manufacture methamphetamine. She requests this Court order or

recommend that she be placed in a halfway house or in home detention for

a period of twelve months. This Court does not have the authority to grant

the relief sought.

      The Federal Bureau of Prisons has established an administrative

procedure whereby a federal inmate may request pre-release conditions



      Case 1:04-cr-00043-MR   Document 319   Filed 05/03/13   Page 1 of 2
and obtain review of the agency’s determinations. 28 C.F.R. §542.10, et.

seq. The Defendant should address her requests in the first instance to

that agency. Greene v. Cruz, 2013 WL 968223 (D.S.C. 2013). This Court

has no authority to request the Bureau of Prisons to alter the location and

manner in which the Defendant’s sentence is served.            United States v.

Squire, 2012 WL 3848364 (D.S.C. 2012).

     IT IS, THEREFORE, ORDERED that the Defendant’s pro se Motion

to Order and/or Recommend Twelve (12) [Months] Halfway House/Home

Confinement [Doc. 318] is hereby DENIED.

                        Signed: May 3, 2013




     Case 1:04-cr-00043-MR     Document 319   Filed 05/03/13   Page 2 of 2
